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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 06-cr-156-02-PB

Rose Cote and Troy Cote


                               O R D E R


     Defendants have each moved, through counsel, to continue the

May 1, 2007 trial in the above case, citing the need for

additional time to engage in plea negotiations or prepare a

defense.   The government does not object to a continuance of the

trial date.

     Accordingly, to allow the parties additional time to

properly prepare for trial, the court will continue the trial

from May 1, 2007 to June 5, 2007.      In agreeing to continue the

trial, the court finds pursuant to 18 U.S.C.A. § 3161(h)(8)(A)

that for the above-stated reasons, the ends of justice served in

granting a continuance outweigh the best interests of the public

and the defendants in a speedy trial.
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      The April 17, 2007 final pretrial conference is continued to

May 24, 2007 at 4:00 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

April 17, 2007

cc:   R. Brian Snow, Esq.
      Tony Soltani, Esq.
      Helen Fitzgibbon, AUSA
      United States Probation
      United States Marshal




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